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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK


KATHRYN SHIBER,

              Plaintiff,

     v.                                        Case No. 1:21-cv-03649


CENTERVIEW PARTNERS LLC,

              Defendant.




CENTERVIEW PARTNERS LLC’S MEMORANDUM OF LAW IN SUPPORT OF ITS
                     MOTION TO DISMISS




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       Defendant Centerview Partners LLC (“Centerview”) respectfully submits this

memorandum of law in support of its motion to dismiss Causes of Action I–VI of Plaintiff’s

Second Amended Complaint (ECF. 23, “Complaint”) for lack of subject-matter jurisdiction.

                                PRELIMINARY STATEMENT

       This is a straightforward case involving a New Jersey worker and resident attempting to

avail herself of New York City and State statutes that simply do not apply to her. Plaintiff Kathryn

Shiber is a New Jersey resident who, for less than three months during the global pandemic,

worked for Centerview as an analyst. Although Centerview maintains an office in New York City

(among many other cities world-wide), Plaintiff never stepped foot inside that New York City

office during her employment with Centerview and was never required to work in the City at all.

Instead, Plaintiff worked from her residence in New Jersey. Yet Plaintiff now seeks $5 million 1

from Centerview for alleged violations of, inter alia, the New York City Human Rights Law

(“NYCHRL”), which the New York Court of Appeals has long held covers only “those who inhabit

or are ‘persons in’ the City of New York,” Hoffman v. Parade Publications, 15 N.Y.3d 285, 287

(2010), and the New York State Human Rights Law (“NYSHRL”), which the same Court in the

same case held protects only “‘inhabitants’ and persons ‘within’ the state.” Id. at 291. Plaintiff is

neither an inhabitant nor person in New York City or New York State.




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   Plaintiff’s initial complaint sought to quadruple any recovery by combining redundant damages
requests for each of her original four causes of action, even though those claims arise out of the
same allegations. (ECF No. 1 at 18). Centerview moved to strike the portion of Plaintiff’s
WHEREFORE clause that sought redundant damages, but Plaintiff filed a First Amended
Complaint before that motion was resolved. (See ECF Nos. 16, 18). Because the operative
Complaint does not contain the multiplying language in Plaintiff’s original pleading, Centerview
presumes that Plaintiff is no longer seeking redundant damages and therefore does not move with
respect to Plaintiff’s damages request. To the extent Plaintiff does seek impermissible damages,
Centerview reserves its right to object.


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       Addressing “whether a nonresident alleging discriminatory conduct who did not work in

New York can assert a cause of action under the NYCHRL or NY[S]HRL,” the Second Circuit

explained in a November 2020 opinion that “[e]very case to address this issue forecloses such a

conclusion.” 2 Ware v. L-3 Vertex Aerospace, LLC, 833 F. App’x 357, 359 (2d Cir. 2020). Those

cases likewise foreclose, and thus require dismissal of, Plaintiff’s NYCHRL and NYSHRL claims.

Id.

                                  FACTUAL BACKGROUND

       The following factual background section references information gleaned from allegations

in the Complaint—many of which Centerview disputes but adopts only for purposes of this

pleading-stage motion—and exhibits accompanying Centerview’s motion to dismiss.

       Centerview is a prestigious investment banking and advisory firm with offices in New York

City and other locations. Compl. ¶¶ 5, 9. Centerview hires a select group of analysts each year

for its three-year analyst program. Id. ¶ 9. In September 2019, Centerview offered Plaintiff (then

a college senior) a position in its highly competitive analyst program to commence the following

summer. Id. ¶¶ 7, 9. Plaintiff began her employment with Centerview on or about July 6, 2020.

Id. ¶¶ 15-16. Because of the global pandemic then plaguing New York City, Plaintiff never entered

Centerview’s New York City office at any time during her employment with the firm. See

Declaration of Cheryl Robinson (“Robinson Decl.”) ¶¶ 5–9, Ex. 1 (People Search Database



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  Wexelberg v. Project Brokers LLC, which Plaintiff relies on in arguing that this Court has subject
matter jurisdiction over her NYCHRL claims (see ECF No. 14 at 1-2), presents no exception. 2014
WL 2624761, 13-cv-7904(LAK)(MHD) (Apr. 28, 2014), report & recommendation adopted
June 3, 2014 (ECF No. 25). Unlike here where Plaintiff worked out of her home in New Jersey
during the entirety of her employment, in Wexelberg, “for the majority of the relevant time the
plaintiff was working at defendants’ work site in New York City.” Id. at *11 (emphasis added).
Thus, in denying defendants’ motion to dismiss, the Court reasoned, inter alia, that “[i]t is not
clear from Hoffman or its progeny that in such a circumstance the plaintiff may not be deemed to
have been working in the City for purposes of all of his claims.” Id.
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Inquiry). Instead, Plaintiff worked out of her home in New Jersey. See id. ¶ 10, Ex. 2 (July 8,

2020 Email from Plaintiff to Cheryl Robinson, Centerview Human Resources, stating: “due to

[Work From Home] I am in New Jersey . . . .”); Compl. ¶ 3 (“At all relevant times mentioned

herein, Plaintiff Kathryn Shiber . . . was and is a resident of the State of New Jersey.”).

        Plaintiff completed several weeks of remote training and exams and then received her first

assignment around July 27, 2020. Id. ¶¶ 19–20. She contends that “around the week of August 24,

2020, [she] worked approximately from 8:00 am to 1:00 am the next morning for two or three days

in a row, and [she] only logged off her computer and went to sleep because she believed her tasks

for the evening were complete.” Id. ¶ 22. Plaintiff alleges that on one occasion she was

reprimanded for signing off her computer without first notifying her more senior team members.

Id. ¶ 23.

        Immediately following her reprimand, Plaintiff contacted Cheryl Robinson of

Centerview’s Human Resources Department, “request[ing] to speak about how she could manage

work-life balance.” Id. ¶ 28. Plaintiff alleges that she “advised [Ms.] Robinson that she had a

medical disability that required eight to nine hours of sleep per night, ideally on a somewhat

consistent schedule.” Id. ¶ 29. Over the next few days, Ms. Robinson worked with Plaintiff and

senior members of the deal team to explore a potential accommodation to address Plaintiff’s

purported concerns. Id. ¶¶ 30–37. Ultimately, Ms. Robinson told Plaintiff that her deal team had

been advised that for the time being Plaintiff “had a ‘hard stop’ each night between midnight and

9:00 am[.]” Id. ¶ 38.

        On Tuesday, September 15, 2020, Plaintiff was terminated by Centerview on a Webex

video call. Id. ¶¶ 44, 46. Plaintiff claims that she was wrongfully terminated because of her alleged

disability. Id. ¶ 55.



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       Plaintiff now brings eleven causes of action under: N.Y.C. Admin. Code § 8-107 (the

NYCHRL); Chapter 18, Article 15 of the New York State Executive Law §§ 296(1)(a), (3)(a) (the

NYSHRL); the New Jersey Law Against Discrimination (“NJLAD”), and; the Americans with

Disabilities Act (“ADA”). Plaintiff seeks $5 million in alleged damages arising out of her

NYCHRL, NYSHRL, and NJLAD claims, and seeks “damages in an amount to be determined at

trial” for her ADA claims. Plaintiff also seeks costs and attorneys’ fees. While Centerview

disputes the merits of each and every cause of action, Centerview respectfully moves to dismiss

only those claims arising under the NYCHRL and NYSHRL.

                                      LEGAL STANDARDS

       “A case is properly dismissed for lack of subject matter jurisdiction under Rule 12(b)(1)

when the district court lacks the statutory or constitutional power to adjudicate it.” Lyons v. Litton

Loan Servicing LP, 158 F. Supp. 3d 211, 218 (S.D.N.Y. 2016) (quoting Makarova v. United States,

201 F.3d 110, 113 (2d Cir. 2000)). “[A] defendant is permitted to make a fact-based Rule 12(b)(1)

motion, proffering evidence beyond the” complaint and its exhibits. Carter v. HealthPort Techs.,

LLC, 822 F.3d 47, 57 (2d Cir. 2016). “In opposition to such a motion, [a plaintiff] must ‘come

forward with evidence of [her] own to controvert that presented by the defendant,’ or may instead

‘rely on the allegations in [her] pleading if the evidence proffered by the defendant is immaterial

because it does not contradict plausible allegations that are themselves sufficient to show

standing.’” Katz v. Donna Karan Co., L.L.C., 872 F.3d 114, 119 (2d Cir. 2017) (quoting Carter,

822 F.3d at 57)). Dismissal under Rule 12(b)(1) is appropriate where a plaintiff attempts to plead

a statutory claim but lacks standing to invoke that law. Pedroza v. Ralph Lauren Corp., No. 19-

CV-08639 (ER), 2020 WL 4273988, at *1–4 (S.D.N.Y. July 24, 2020) (holding that “since Pedroza

has failed to meet her burden of demonstrating an impact from the discriminatory conduct in New

York City, her NYCHRL claim must be dismissed” under Rule 12(b)(1)).
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                                         ARGUMENT

A.     Hoffman And Its Progeny Dictate That An Employee Living And Working In New
       Jersey Cannot Avail Herself Of The NYCHRL Or NYSHRL

       The Court must dismiss Causes of Action I–VI of the Complaint under Rule 12(b)(1)

because it lacks subject-matter jurisdiction over Plaintiff’s NYCHRL and NYSHRL claims. The

New York Court of Appeals has established that the NYCHRL and NYSHRL claims are

jurisdictionally limited and offer no remedy where, as here, the alleged conduct underlying the

claims impacts a plaintiff outside New York. See Hoffman, 15 N.Y.3d at 290–91 (holding that

“the impact requirement is appropriate where a nonresident plaintiff invokes the protection of the

City Human Rights Law” and that “a nonresident must plead and prove that the alleged

discriminatory conduct had an impact in New York” to state a claim under the NYSHRL).

       With respect to her NYCHRL and NYSHRL claims, Plaintiff must plead an “impact” in,

respectively, New York City or New York State to establish the existence of subject matter

jurisdiction over those claims. To establish the Court’s subject-matter jurisdiction over her

NYCHRL claims, Plaintiff must plead and prove that the alleged discriminatory conduct

“impacted h[er] in New York City.” Fried v. LVI Servs., Inc., 2011 WL 4633985, at *12–13

(S.D.N.Y. Oct. 4, 2011), aff’d, 500 F. App’x 39 (2d Cir. 2012); see also Pedroza v. Ralph Lauren

Corp., No. 19-CV-08639 (ER), 2020 WL 4273988, at *4 (S.D.N.Y. July 24, 2020) (dismissing

NYCHRL claims under Rule 12(b)(1) for lack of subject matter jurisdiction where “Pedroza has

failed to meet her burden of demonstrating an impact from the discriminatory conduct in New

York City. . . .”); Hoffman, 15 N.Y.3d at 289 (holding that, under the NYCHRL, “nonresidents of

the city . . . must plead and prove that the alleged discriminatory conduct had an impact within

[New York City]”); Vangas v. Montefiore Med. Ctr., 823 F.3d 174, 183 (2d Cir. 2016) (“Under

the NYCHRL the impact of the employment action must be felt by the plaintiff in NYC.”). And


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because “[a]pplication of the ‘impact’ requirement to State Human Rights Law claims achieves

the same ends as is the case with its City counterpart,” Plaintiff likewise “must plead and prove

that the alleged discriminatory conduct had an impact in New York [State]” to establish the Court’s

subject-matter jurisdiction over her NYSHRL claim. Hoffman, 15 N.Y.3d at 291; see also

Hardwick v. Auriemma, 116 A.D.3d 465, 467 (N.Y. App. Div. 1st Dept. 2014) (“[I]t is the place

where the impact of the alleged discriminatory conduct is felt that controls whether the Human

Rights Laws apply, not where the decision is made.”).

       For purposes of the NYCHRL and NYSHRL, a plaintiff suffers an impact in New York

City or State only if the plaintiff lived or worked in the City or State—a more tenuous connection

will not do. See Wolf v. Imus, 170 A.D.3d 563, 564 (N.Y. App. Div. 1st Dept. 2009) (Supreme

Court properly dismissed plaintiff’s age discrimination claims brought under the NYCHRL and

NYSHRL because the impact on plaintiff from the termination of his employment occurred in

Florida, where he lived and worked); Benham v. eCommission Solutions, LLC, 118 A.D.3d 605,

606 (N.Y. App. Div. 1st Dept. 2014) (stating that “[w]hether New York courts have subject matter

jurisdiction over a nonresident plaintiff’s claims under the HRLs turns primarily on her physical

location at the time of the alleged discriminatory acts” and dismissing NYCHRL and NYSHRL

claims for lack of subject-matter jurisdiction where “the alleged conduct occurred while plaintiff

was physically situated outside of New York”).

       This Court recognized the impact requirement in Vangas v. Montefiore Medical Center

when it dismissed plaintiff’s NYCHRL claim during the trial because the plaintiff neither lived

nor worked in New York City. See Transcript of June 26, 2014 Trial Proceedings at 620:7-12,

Vangas v. Montefiore Med. Ctr., 11-cv-6722 (ER) (ECF No. 120) (“[B]ecause [plaintiff] did not

work in New York City, did not even live in New York City but rather had tangential contacts



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through her work with New York City, the [NYCHRL] does not apply to her[.]”); Vangas v.

Montefiore Med. Ctr., 2015 WL 1514742, at *1, n.2 (S.D.N.Y. Apr. 3, 2015) (Ramos, J.) (“During

the trial, the Court dismissed the NYCHRL claim for lack of subject matter jurisdiction.”), aff’d

in relevant part, rev’d in part, 823 F.3d 174 (2d Cir. 2016).

       Plaintiff does not, and cannot, plead facts establishing that Centerview’s alleged

discriminatory conduct impacted her in New York City or State. Plaintiff offers the conclusory

statement that she “was employed within the Southern District of New York,” Compl. ¶ 2, but

does not allege that she ever stepped foot anywhere in New York—much less lived or worked in

New York—during her brief employment with Centerview. She has not alleged that she completed

even one iota of work in New York—City or State—and key card data confirms she never went to

Centerview’s office during her two-and-a-half-month tenure with the firm. Instead, at all relevant

times, Plaintiff worked remotely from her home in New Jersey. See Robinson Decl. ¶ 10, Ex. 2

(July 8, 2020 email from Plaintiff to Robinson stating: “due to [Work From Home] I am in New

Jersey . . . .”); Compl. ¶ 3 (alleging that “at all relevant times” Plaintiff “was and is a resident of

the State of New Jersey”). Thus, Plaintiff’s allegation that Centerview has an office in New York

City falls well short of establishing the requisite intra-City/State impact to confer subject-matter

jurisdiction on the Court under either the NYCHRL or NYSHRL. See Hoffman, 15 N.Y.3d at 288,

290–91 (dismissing NYCHRL and NYSHRL claims brought by Atlanta-based employee of

company headquartered in New York City because “[the plaintiff] was neither a resident of, nor

employed in, the City or State of New York”).

B.     The Impact Requirement Remains In Full Force Throughout The Covid-19 Pandemic

       The Hoffman intra-City/State impact requirement operates the same today as it did before

the pandemic and makes no exception for out-of-state plaintiffs who work remotely for New York

City or State based employers because of Covid-19.
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       With respect to the NYCHRL, at no point during the pandemic did the New York City

Council amend that law to render the impact requirement inapplicable—even temporarily. Had

the Council determined an amendment to that statute were necessary in light of the pandemic, it

could have enacted such an amendment. The Council in fact amended other parts of the New York

City Administrative Code where it deemed appropriate in the wake of Covid-19. For example, the

Council enacted a bill to “temporarily prohibit the enforcement of personal liability provisions in

commercial leases or rental agreements involving a COVID-19 impacted tenant.” N.Y.C. Council

Int. No. 1932-A (2020) 3; N.Y.C. Admin. Code § 22-1005.           Had the Council decided that

employees working and living outside of New York City during the pandemic should be able to

avail themselves of the NYCHRL, it could have legislated to that end. It did not do so.

Respectfully, it is the role of the New York City Council—not the courts—to re-write the City’s

laws where pertinent.

       Unlike the New York City Counsel, the New York State Legislature did amend the

NYSHRL during the pandemic. See S. 7105, 2021–2022 Leg., Reg. Sess. (NY 2021) (amending

paragraph I of section 297 of the Executive Law by deleting the requirement for a verified

complaint and providing that a written complaint be made, signed and filed under oath or by

declaration). Notably, despite its consideration of other sections of the NYSHRL, the Legislature

at no point during the pandemic amended the statute to override the Hoffman impact requirement.

As the Legislature is “presumed [to have] knowledge of the Hoffman decision”, its lack of

amendment to sections 290 and 298—on which “[t]he Hoffman Court … relied in finding that the

statute intended to protect the residents of this State or nonresidents who work in this State” is



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   The text of this bill is available at:
https://legistar.council.nyc.gov/LegislationDetail.aspx?ID=4424954&GUID=C2A4AC16-7409-
465E-B5A4-A84F6E7989FB&Options=&Search.
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telling. Pakniat v. Moor, 192 A.D.3d 596, 597 (N.Y. App. Div. 1st Dept. 2021) (rejecting

plaintiff’s contention that a 2019 amendment to NYSHRL § 300 is of any consequence to the

Hoffman impact requirement).

       In Pakniat v. Moor, the Appellate Division also considered the NYCHRL and NYSHRL

impact requirements in light of Covid-19 and rejected the suggestion that the “increase in remote

working arrangements since the Court of Appeals decided Hoffman” somehow negates the

Hoffman directive. Id. There, the Appellate Division explained that while “[t]he Covid-19

pandemic has only expanded the diaspora of remote workers, many of them laboring in other states

for New York firms[,] . . . the clear directive of Hoffman bars this Court from expanding the

jurisdictional breadth of either statute to encompass behavior such as that alleged in the

complaint.” Id. at 597–98 (affirming the dismissal of plaintiff’s NYCHRL and NYSHRL claims

where “plaintiff was living and working in Montreal, Canada, at the time of the alleged

discriminatory conduct and she failed to allege that the conduct had any impact in either New York

State or New York City”).

       Indeed, an application of Hoffman that takes into consideration the relocation of workers

on account of the pandemic would entirely undermine the rationale behind the impact

requirement—that is, to be “relatively simple for courts to apply and litigants to follow” and to

“lead[] to predictable results.” Hoffman, 15 N.Y.3d 285, 291. As Judge Rakoff explained in Fried,

this goal of simplicity and predictability “would be completely undermined if courts were required

to conduct a fact-intensive analysis of the amount of contact a particular individual maintained

with New York City even where it was undisputed that that individual did not work in New York

City.” 2011 WL 4633985, at *13. Judge Rakoff further noted that “[t]his is especially true in

today’s increasingly globalized society in which business is often conducted over large distances.”



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Id. Thus, the increase in remote working caused by Covid-19 only lends itself to the need for strict

adherence to the intra-city impact requirement.

       Because Plaintiff fails to establish that any of Centerview’s purportedly discriminatory

conduct impacted her anywhere within New York, this Court lacks subject-matter jurisdiction over

her NYCHRL and NYSHRL claims and must dismiss them. See Hoffman, 15 N.Y.3d at 290–92;

see also Fed. R. Civ. P. 12(b)(1).

                                         CONCLUSION

       For the foregoing reasons, Centerview respectfully requests that the Court dismiss

Plaintiff’s NYCHRL and NYSHRL claims (Causes of Action I–VI) with prejudice.




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DATED: September 27, 2021        Respectfully submitted,




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 27th day of September, 2021, I electronically filed the

foregoing Motion To Dismiss with the Clerk of the Court using the CM/ECF system which will

send notification of such filing to the following:

        SCHWARTZ PERRY & HELLER LLP
        David S. Perry
        Brian Adam Heller

        CLAYMAN & ROSENBERG LLP
        James Francis Valentino




                                                     /s/ Hope D. Skibitsky
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